      Case 7:18-cv-00338 Document 24 Filed in TXSD on 12/14/18 Page 1 of 3




                           IN THE T-]NITED STATES DISTzuCT COI.JRT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

 LINITED STATES OF AMERICA,                               s
                                                          $
                                 PhintilJ,                $
                                                          $
                                                          $             CASE   NO.   7:18-CV-338
                                                          $
 27.36 ACRES OF LAND, MORE OR                             $
 LESS, SITUATE IN HIDALGO                                 $
 COUNTY, STATE OF TEXAS; AND                              $
 HEIRS OF ROMULO CAVAZOS, ET AL.,                         $
                                                          $
                             DeJbndunts.                  $



                         WAIVER OF SERVICE OF JUDICIAL PROCESS


                           TO:      MEGAN EYES
                                    Assistant United States Attorney
                                    l70l W. Bus. Highway 83, Suite 600
                                    McAllen. Texas 78501

          I   acknowledge receipt of your request to waive service ofjudicial process in this action

along with a copy of the Notice of Condemnation, two copies of this waiver form, and a self-

addressed postage-free envelope that I can use to retum one signed copy of the waiver to you, at

no cost to me

          I, or the entity on whose behalfl am acting, agree to avoid the costs associated with formal

service   ofjudicial process in the manner provided by Federal Rules of Civil Procedure 4 and 71.1.

          I understand that I, or the entity on whose behalf I am acting, will retain all defenses or

objections to the lawsuit, the court's jurisdiction, and the venue ofthe action, but that I waive any

objections to a defect in the Notice of Condemnation or in the service thereof.



                                                  Page   I of3
                                             Waiver of Service   ofJP
      Case 7:18-cv-00338 Document 24 Filed in TXSD on 12/14/18 Page 2 of 3




        I understand that I, or the entity on whose behalf I am acting, pursuant to Federal Rule of

Civil Procedure 71.1, may file a notice of      appearance      if    there is no objection or defense to the

taking ofthe condemned lands. In the alternative, ifthere is an objection or defense to said taking,

I, or the entity on whose behalf I am acting, must serve an answer upon plaintiff s attomey at the

address herein designated     within twenty-one (21) days after being served with the Notice of

Condemnation. I further acknowledge that the answer must identify the property in which I, or the

entity on whose behalf   I   am acting, claim an interest, state the nature and extent of the interest

claimed, and state all objections or defenses to the taking.

       I, or the entity on whose behalf I am acting, understand that a failure to serve an answer

within twenty-one (21) days shall constitute    a consent to the       taking and to the authority ofthe court

to proceed to hear the action and   fixjust compensation,      and shall constitute a waiver   ofall   defenses

and objections not so presented.

       I further understand that at the trial ofthe issue ofjust compensation, whether or not I, or

the entity on whose behalf I am acting, have filed an answer or served a notice of appearance, I

may present evidence as to the amount ofjust compensation to be paid for the property acquired

herein and I may share in the distribution   ofthe award for compensation.




                                                Page 2   of3
                                          ll/aiver of Ser-vice ofJP
Case 7:18-cv-00338 Document 24 Filed in TXSD on 12/14/18 Page 3 of 3




                    B),
                          SIGNATURE

                                      f
                          PRIN'I'ED N

                                  tt)tulx
                          nart
                          Please provide the        following:


                                                                         ^
                                                                             tTX
                          ]\IAII,ING ADDRESS


                          PHYSICAL ADDRESS 6f dilfercnt fton nqilins)


                          PH0\}- \T'\II}F-R

                          What is the best time to reach you at this phone

                          number?           El6uy EEvening

                          E-NI,{IL




                                  Page 3   of3
                           Ilaiv't'   of Service ofJP
